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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


    DEFENDANTS’ MOTION IN LIMINE NO. 6 TO PRECLUDE PLAINTIFFS FROM
   PRESENTING EVIDENCE OF ALLEGED DAMAGES TO FAMILY MEMBERS OF
  PLAINTIFF ALESKEJ GUBAREV AND INCORPORATED MEMORANDUM OF LAW
            Defendants move for an order precluding Plaintiffs from presenting evidence at trial
  relating to any alleged damages to family members of Aleksej Gubarev. Throughout Plaintiffs’
  discovery responses, Gubarev referenced purported damages to his family members. Defendants
  anticipate that Plaintiffs will attempt to introduce similar statements at trial. Such statements,
  which relate to damages allegedly incurred by non-parties, are irrelevant and highly prejudicial.
  For these reasons, Plaintiffs should be precluded from introducing such testimony in these
  proceedings.
                                     FACTUAL BACKGROUND
            The Plaintiffs in this lawsuit are limited to XBT Holding S.A., Webzilla, Inc. and Aleksej
  Gubarev. They brought this lawsuit alleging Defamation and Defamation per se related to
  Defendants’ publication of the Dossier. They complain about a paragraph on the final page of
  the Dossier that refers to “XBT/Webzilla and its affiliates” and “Aleksei Gubarov.” In their
  Complaint, Plaintiffs claimed injuries only to XBT Holding S.A., Webzilla, Inc., and Gubarev.
  Ex. 1 (Complaint) ¶¶ 46-50.
            Notwithstanding the limited parties to this lawsuit, during discovery Gubarev made
  repeated statements concerning alleged damages to non-parties. Specifically, Gubarev
  referenced harm to his wife and mother. Ex. 2 (Interrogatory Responses) at 5-6.
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         In response to Defendants’ Interrogatory No. 10, seeking specificity with respect to “each
  element of damage that you claim in this action,” Gubarev stated:

         They [reporters] visited my wife’s dance studio and took pictures of
         everything. My wife and I felt afraid, harassed, and stalked.

         …

         My family has also suffered as a result of Buzzfeed’s publication. My wife
         has received numerous communications about the matter, about which she
         feels harassed. She has had to ban and delete people from messaging her or
         posting on her or her business’s Facebook pages. My mother has also
         received over 40 calls from people after the false information from Buzzfeed
         made it to national television in Russia, which caused stress to her and my
         grandmother. All of this has led to me and my family not feeling safe,
         particularly when people travelled to Cyprus to investigate me after the
         publication of the Dossier. I had to hire a security company to protect my family
         after my wife told me that she saw cars following her.

  Id. (emphasis added). Similarly, when asked during his deposition to describe his personal
  damages, Gubarev again made statements concerning alleged damages to his family members:

         My family was abused as well. My wife was under pressure. Journalists was
         coming to Cyprus to make an investigation against me. Even I don’t do nothing
         they come close to house and close to my – they come to my office. They come
         to business of my wife. They were asking questions around. They hire private
         investigation company as we against and follow us, and a real security belief of
         my life. I hired security company to protect me for this grievance.

         My mother and her mother was shocked about that because not me informed
         them. It was on the national television of Russian Federation that I was
         connected to the story.

         They get hundreds of calls they told me. People was calling me, including
         people who’s living in your area to explain what is happening, how am I
         connected to that. People want to know. And she was under huge stress. I
         mean, all my family was under huge stress and we’re still under stress, and my
         personal, I still have a big problems with on a lot of levels.

  Ex. 3 at 239:4-23 (emphasis added).

                                           ARGUMENT
         Defamation is a tort personal to the party defamed. McBeth v. United Press Int’l, Inc.,
  505 F.2d 959, 960 (5th Cir. 1974); Miracle v. New Yorker Magazine, 190 F. Supp. 2d 1192, 1199



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  (D. Haw. 2001); Davis v. Costa-Gavras, 619 F. Supp. 1372, 1376 (S.D.N.Y. 1985); Gugliuzza v.
  K.C.M.C., Inc., 606 So. 2d 790, 791-92 (La. 1992); Coulon v. Gaylord Broad., 433 So. 2d 429,
  431 (La. Ct. App. 1983); see also Prosser & Keeton, The Law of Torts § 111 (1984 ed. & Supp.
  1988). Plaintiffs may not recover for derivative injuries that may be sustained by other
  individuals as a result of the defamation of Plaintiff. See Talbot v. Johnson Newspapers Corp.,
  508 N.Y.S.2d 80, 83 (N.Y. App. Div. 1986) (defamed plaintiff cannot recover for spouse’s
  injuries caused by the defamation of plaintiff); see also Sethi v. WFMJ Television Inc., 732
  N.E.2d 451, 462-63 (Ohio Ct. App. 1999); Hughes v. New England Newspaper Publ’g Co., 43
  N.E.2d 657, 658-59 (Mass. 1942); Lee v. Weston, 402 N.E.2d 23, 27-28 (Ind. Ct. App. 1980).
  Similarly, a plaintiff cannot recover for defamation of someone else, even it causes the plaintiff
  injury. Fowler v. Curtis Publ’g Co., 78 F. Supp. 303, 304 (D.D.C. 1948), aff’d, 182 F.2d 377
  (D.C. Cir. 1950) (“A person who is injured by reason of the fact that someone else is libeled, has
  no right of recovery.”); Wehling v. Columbia Broad. Sys., 721 F.2d 506, 509 (5th Cir. 1983)
  (wife has no cause of action for husband’s defamation); Sethi, 732 N.E.2d at 462-63; Gugliuzza,
  606 So. 2d at 791-92 (no cause of action for defamed decedent’s relatives); Geddes v. Princess
  Props. Int’l, Ltd., 451 N.Y.S.2d 150 (N.Y. App. Div. 1982) (spouse of defamed person has no
  cause of action for mental anguish and suffering).
         The elements necessary to establish defamation under Florida law are consistent with
  these principles: only the party that has been defamed may recover for damages suffered. See
  Thompson v. Orange Lake Country Club, Inc., 224 F. Supp. 2d 1368, 1376 (M.D. Fla. 2002) (the
  elements of a claim of defamation are: a false statement, about the plaintiff; to a third party; and
  the party suffered damages as a result of the publication) (emphasis added); Buckner v. Lower
  Fla. Keys Hosp. Dist., 403 So. 2d 1025, 1027 (Fla. 3d DCA 1981). Through these elements,
  Florida law precludes individuals who are not the subject of the alleged defamatory statement
  from establishing a claim of defamation. Id.
         Likewise, and consistent with courts across the nation, Florida law mandates that
  damages from the alleged defamatory statement relate back to the party, precluding derivative
  injuries. Id. Consequently, any evidence concerning purported damages sustained by
  individuals other than those who are the subject of the “false statement” or who are a “party” to
  the lawsuit is irrelevant to the claim of defamation. Pursuant to Fed. R. Evid. 402, only relevant




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  evidence is admissible at trial. Accordingly, evidence and testimony of any damages sustained
  by non-parties is irrelevant and should be excluded from trial.
         As applied to the facts here, neither Gubarev’s wife, mother, nor any other family
  member was identified in the Dossier. As these people were not the subject of the alleged
  defamatory conduct, they cannot be parties to the lawsuit and Plaintiffs correctly did not include
  them as parties to this litigation. Similarly, Plaintiff may not recover for any damages these non-
  party individuals may have suffered as a result of the alleged defamation of Plaintiff.
  Nonetheless, in a backdoor attempt to broaden the scope of damages at issue, Plaintiffs
  impermissibly seek to introduce evidence of alleged damages to Gubarev’s family members.
  There is no basis for such recovery of damages. First, none of the subject statements relate to
  Gubarev’s wife, his mother, or any other member of his family. Second, damages are those
  suffered by “the party,” which ‒ by definition ‒ excludes non-parties. As such, any evidence or
  testimony of purported damages to Gubarev’s wife, mother, or other family members should be
  excluded from trial.
         In addition to being irrelevant, the introduction of alleged damages suffered by Gubarev’s
  family members at trial would be highly prejudicial to Defendants. Evidence of these alleged
  damages are expected to be highly emotional as a result of the obvious deep loyalty and affection
  Gubarev’s wife and mother have for him. However, not only is this evidence irrelevant for the
  reasons stated above, but the alleged duress sustained by Gubarev’s wife and mother would be
  anticipated as a result of the negative attention Gubarev purports to have experienced regardless
  of whether the allegations at issue are true or the Dossier were rightfully published.
  Furthermore, this testimony could not easily be challenged or disproved through evidence or
  cross-examination, thereby limiting Defendants from providing any meaningful refutation to the
  emotionally charged testimony. Because Defendants would be highly prejudiced and the
  evidence has no probative value on any issue of fact, preclusion under Fed. R. Evid. 403 is
  warranted.
                                             CONCLUSION
         For the reasons set forth herein, Defendant respectfully request that this Court preclude
  Plaintiffs from offering evidence of damages to non-parties as the trial.




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  Dated: October 29, 2018       Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 12th day of October, 2018.



                                                By: /s/ Adam Lazier
                                                        Adam Lazier




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